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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                        Durango Division

    Criminal Case No. 1:18-CR-00183

    UNITED STATES OF AMERICA,

                   Plaintiff,

    v.

    WILLIAM WHITTINGTON,

                   Defendant.

    ________________________________________________________________________

        OBJECTIONS AND CLARIFICATIONS TO PRESENTENCE REPORT
    ________________________________________________________________________

           William Whittington, by counsel Jay Nanavati, respectfully submits his objections

    and clarifications to the Presentence Report.

    Page 5, Paragraph 15

           The Drug Enforcement Administration closed its investigation without charges.

    Mr. Whittington disputes that he played as extensive a role in the operations of the

    Pagosa Springs Resort and Spa as depicted in the PSR. Mr. Whittington’s role was more

    akin to that of a business consultant to his daughters.

    Page 5, Paragraph 16

           It is not at all unusual to use separate entities for each sub-unit of a business

    organization. In fact, it is considered best practice in the business world. Owners of real

    estate, for example, typically form a new entity for each property that they own. If one

    property becomes the subject of legal action, the others remain separate from the lawsuit.

    Additionally, the eventual sale of businesses is far easier when they are separate legal

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    entities. When several businesses are under one entity, it can be a complex task to

    segregate operations, assets, and documentation, thereby making the sale more difficult.

    Page 5, Paragraph 17

            In addition to the payments of $1,253,464 and $2,690,241, Mr. Whittington paid

    the IRS another $412,376 through the Offshore Voluntary Disclosure Program, because

    the IRS calculated passive foreign investment company income on the bank accounts.

    Thus, Mr. Whittington paid the IRS a combined $4,356,081.

    Page 6, Paragraph 20

            While the government believes that the intercompany loans at issue were

    fictitious, the reality was far different. In fact, the loans were all real loans that had a non-

    tax business purpose and economic substance.

            In small, closely-held businesses, related companies routinely lend money to each

    other and to shareholders and record the loans in the companies’ books and records

    without the creation of formal promissory notes for each transaction and without the need

    to “protect” one related entity from another through collateral. Such informality is the

    result of the close relationships among the parties and is not indicative of any intent to

    conceal or defraud.

        In fact, less formal loans, without stated duration or interest, are at least as common

    as more formal intercompany and shareholder loans. These informal loans are treated as

    “demand” loans under the law because they are payable in full on the demand of the

    lender. These loans were real and were not part of any tax fraud.

    Page 9, Paragraphs 42-43




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           Mr. Whittington’s Criminal History Category would be I, and the Guidelines

    sentence would be 37-46 months, but for the fact that only 13 years, and not 15 years or

    more, separated Mr. Whittington’s release from prison and the current offense conduct.

    Page 13, Paragraph 73

           Mr. Whittington has never owned a Bentley automobile. The only possible

    explanation for this is that his nephew, R.D. William Whittington, owns a business that

    buys and sells luxury automobiles. This could be the source of the confusion.

           The 1983 UCC lien to which the PSR refers was released by court order.

    Addendum, Page R-1, Amended Sentencing Recommendation

           Mr. Whittington objects to the recommended fine of $60,000 in light of the

    parties’ agreement that no fine is appropriate in light of the large restitution amount.

    Pages R-2 and R-3, Special Conditions

           Mr. Whittington submits that the recommended special conditions of supervision

    are inappropriate because they are primarily directed toward ensuring that the defendant

    makes restitution payments after sentencing. Mr. Whittington will have paid all of his

    restitution before sentencing, as is required by the plea agreement. There is therefore no

    reason for the Probation Office to monitor his ability to pay and his progress toward paying

    restitution. Additionally, Mr. Whittington has been a resident of Arizona for approximately

    four years. It is therefore unnecessary to monitor his compliance with the rules of the

    Colorado Department of Revenue.

    Dated: October 1, 2018                         Respectfully submitted,


                                                   s/ Jay Nanavati
                                                   Jay R. Nanavati
                                                   Kostelanetz & Fink LLP

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